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                         Exhibit A
      Proposed Edits to PenJIs and SVF
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                                             PenJI IV

To succeed on its claim for unjust enrichment based on alleged misappropriation of any given
AllegedClaimed Trade Secret, therefore, Waymo must prove all of the following:

1. That the AllegedClaimed Trade Secret qualified as an enforcible trade secret at the time it was
allegedly misappropriated; and
2. That the defendant improperly acquired, then used or disclosed the AllegedClaimed Trade
Secret.
3. That the defendant was thereby unjustly enriched; and
4. That such use or disclosure was a substantial factor in unjustly enriching the defendant.

No defendant may be held liable for a damage award as to any given AllegedClaimed Trade
Secret unless all of these elements of proof are satisfied as to that defendant and as to that given
AllegedClaimed Trade Secret. It is for you, the jury, to decide whether or not all of these
elements have been proven for all of the AllegedClaimed Trade Secrets, for some of them, or for
none of them. I will address damages available to Waymo if you find liability, but first I
will now explain these elements of proof in more detail.

                                             PenJI V

Turning to the first element of proof for a misappropriation claim, Waymo must prove that each
AllegedClaimed Trade Secret qualified as an enforcible trade secret at the time of
allegedclaimed misappropriation. To do so, Waymo must prove all of the following:
1. That Waymo owned the AllegedClaimed Trade Secret;
2. That the AllegedClaimed Trade Secret was secret at that time;
3. That the AllegedClaimed Trade Secret had actual or potential independent economic value at
that time because it was secret; and
4. That Waymo made reasonable efforts up to the allegedclaimed misappropriation to keep
secret the AllegedClaimed Trade Secret.
I will now explain these factors in more detail.

                                             PenJI X

The secrecy required to prove that something is a trade secret does not have to be absolute
secrecy in the sense that no one else in the world possessed the information at the relevant time.
It may have been disclosed to employees involved in the owner’s use of the trade secret as long
as they were instructed to keep the information secret. It may also have been disclosed to
nonemployees if they were obligated to keep it secret. However, it must not have been generally
known to the public or to others who could have obtained value from knowing it. In addition,
combinations of public information from a variety of different sources can be a trade secret
when combined in a way that is not generally known. It does not matter if a portion of the
trade secret is generally known, or even that every individual portion of the trade secret is
generally known, as long as the combination of all such information is not generally known.
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                                            PenJI IX

Everyone has the right to use or to disclose information that they independently develop on their
own without the benefit of someone else’s trade secrets. Therefore, even if one company has a
protectable trade secret in certain information, other companies are free to independently develop
and use similar information on their own. They cannot, however, improperly acquire and then
use or disclose someone else’s trade secrets in doing so. Nor can they use or disclose someone
else’s trade secrets if they know or have reason to know the trade secrets were acquired
under circumstances giving rise to a duty to maintain their secrecy or limit their use, or
they know or have reason to know the trade secrets were derived through a person owing a
duty to another to maintain their secrecy or limit their use.


                                           PenJI XIII

Turning to the second element of proof for a misappropriation claim for damages, Waymo must
also prove that the AllegedClaimed Trade Secret was used or disclosed by a defendant without
Waymo’s consent and that said defendant either acquired knowledge of the trade secret by
improper means or at the time of disclosure or use, knew or had reason to know that its
knowledge of the trade secret (i) came through persons who had acquired it by improper means.;
(ii) was acquired under circumstances giving rise to a duty to maintain its secrecy or limit
its use; or (iii) was derived from or through a person who owed a duty to Waymo to
maintain its secrecy or limit its use.

                                           PenJI XVI

Actual use is not limited to direct copying but includes studying and consulting. For example, if
someone took a copy of a secret design with him to his next employer and studied the copy while
working on the next employer’s own design, such studying would constitute actual use even
though the two designs differed. Actual use does not require using all features,
characteristics or elements of the trade secret. Actual use would also occur where a
company used its competitor’s designs to accelerate its own research and development
process. Actual use involves not just direct copying but also using a competitor’s design to
modify or improve one’s own design. Experimenting internally with a stolen design counts
as actual use, even if those experiments do not result in a marketable product.




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                  Former PenJI III moved to [Proposed] PenJI XVI Part 1

If you find one or more of the defendants liable for trade secret misappropriation, our
trade secret laws allow recovery of damages. The measure of damages that Waymo seeks is
called unjust enrichment. In this case, Waymo’s theory of recovery requires it to prove
that Uber and/or Ottomotto was unjustly enriched by their use or disclosure of the Claimed
Trade Secrets. Although our trade secret laws allow recovery of “actual damages,” once
misappropriation is proven, Waymo has chosen to proceed on a measure of damages called
unjust enrichment, a measure that is recognized under our trade secret laws. Furthermore,
although our trade secret laws allow recovery for unjust enrichment based on improper
acquisition, use or disclosure of trade secrets, Waymo proceeds in this trial on a theory of
recovery that requires it to prove unjust enrichment by reason of use or disclosure of trade
secrets. Acquisition alone will not be enough to recover damages.

                   Former PenJI IV moved to [Proposed] PenJI XVI Part 2

To succeed on its claim for unjust enrichment damages based on alleged misappropriation of
any given AllegedClaimed Trade Secret, therefore, Waymo must prove all of the following:

1. That the Alleged Trade Secret qualified as an enforcible trade secret at the time it was
allegedly misappropriated;
2. That the defendant improperly acquired, then used or disclosed the Alleged Trade Secret.
13. That the defendant was thereby unjustly enriched by its use or disclosure of the Claimed
Trade Secret; and
24. That such use or disclosure was a substantial factor in unjustly enriching the defendant.

No defendant may be held liable for a damage award as to any given AllegedClaimed Trade
Secret unless all of these elements of proof are satisfied as to that defendant and as to that given
AllegedClaimed Trade Secret. It is for you, the jury, to decide whether or not all of these
elements have been proven for all of the AllegedClaimed Trade Secrets, for some of them, or for
none of them. I will now explain these elements of proof in more detail.

                                           PenJI XVII

Turning to the third and fourth elements of proof of Waymo’s misappropriation claim for unjust
enrichment damages, unjust enrichment occurs whenever a defendant reaps an undeserved
benefit such as accelerating its own development timeline and/or saving on development costs by
taking improper advantage of someone else’s trade secrets. Unjust enrichment does not occur,
however, where the benefit would have been realized anyway. The use or disclosure must have
been a substantial factor in causing the unjust enrichment. A substantial factor in causing unjust
enrichment means a factor that a reasonable person would consider to have contributed to the
unjust enrichment. It must be more than a remote or trivial factor. It does not have to be the only
cause. Conduct is not a substantial factor in causing unjust enrichment if the same benefit would
have occurred without that conduct.




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                                          PenJI XVIII

Acquiring someone else’s enforcible trade secret may (or may not) unjustly enrich the acquirer.
In this case, however, Waymo’s theory of recovery depends, as stated, on proving use or
disclosure of its Alleged Trade Secret.

                                           PenJI XX

If Waymo proves that any defendant used or disclosed one or more AllegedClaimed Trade
Secrets, then Waymo is entitled to recover damages if the use or disclosure was a substantial
factor in causing that defendant to be unjustly enriched.

To decide the dollar amount of any unjust enrichment to a defendant, first determine the
dollar value of that defendant’s actual benefit that would not have been achieved except for its
use or disclosure. Then subtract from that amount that defendant’s reasonable expenses,
including the dollar value of its own independent research and development. Alternative: Then
subtract from that amount that defendant’s reasonable expenses, including any
independent research and development expenses, unless such expenses have already been
subtracted.

Your award must be based upon evidence, and not upon speculation, guesswork, or
conjecture.

If you find, as to any AllegedClaimed Trade Secret, that it was used or disclosed but that
Waymo has failed to prove a calculable dollar amount of unjust enrichment, meaning on Special
Verdict Question Nos. 2 [Proposed] 3 and 6 [Proposed] 8 you answer “Yes,” and “Zero,” then
we may have a short supplemental instruction and supplemental closing argument to assist you in
arriving at an alternative form of award.

                                          PenJI XXVI

When Anthony Levandowski testified at our trial, he invoked his right not to incriminate
himself under the Fifth Amendment in our Bill of Rights. This was his right to do so.
Nevertheless, you may but are not required to find that the questions called for answers that
would have incriminated him and that these answers would have been adverse to his position. In
addition, you also may find that any answers provided by Levandowski would have been
adverse to the defendants in this case, but you are not required to do so.
That, however, would not necessarily be the same as being adverse to the position of Uber or
Ottomotto or Waymo. Before finding that the answer would have also been adverse to another
party in the case, you should consider all of the other evidence and circumstances. You are not
required to find that any answer by him would have been adverse to him or to any party herein.
You should consider all of the other evidence and circumstances in determining whether to
find that Levandowski’s answers would have been adverse to the defendants.




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                                        PenJI XXVII

For reasons not relevant to your decision here, Waymo is suing Anthony Levandowski in a
separate proceeding, not in this case. This trial is against only Uber and Ottomotto. That
Levandowski himself might be separately liable to Waymo is not, by itself, enough to make
Uber or Ottomotto liable to Waymo in this trial. To hold them liable, or either of them, for
misappropriation of any AllegedClaimed Trade Secret, Waymo must prove the elements of
proof set forth in these instructions. You should not consider any recovery that Waymo
might obtain from Levandowski in the other proceeding, as this will not compensate
Waymo for its losses arising from any trade secret misappropriation.

                                        PenJI XXVIII

Waymo and Uber are corporations and Ottomotto is a limited liability company.

Under the law, corporations and limited liability companies are considered to be persons,
but they can only act through their employees, directors, officers, or other agents. A
corporation or limited liability company is responsible for the acts of its employees,
directors, officers, or other agents performed within the scope of their authority. This
authority may be shown by words or may be implied by the parties’ conduct.

In this case, Uber and Ottomotto are liable for any trade secret misappropriation by any
employee, director, officer or other agent if that individual was acting within the scope of
his or her authority at the time that he or she misappropriated any Claimed Trade Secret.




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                            Former SVF 1, 5 – [Proposed] SVF 1

Separately as to each Claimed Trade Secret, state whether or not Waymo has proven that the
following Claimed Trade Secret is an enforcible trade secret. the following parts of its claim
for misappropriation against [the relevant defendant]. Answer “Yes” or “No.” To sustain such a
claim as to any Alleged Trade Secret, you must find Waymo has proven all of the elements in the
three columns below, meaning “Yes” in bothall three columns. If you answer “No” as to the any
column, then you need not consider and need not answer as to the other columns for that
particular Alleged Trade Secret, although you may do so if you wish. You are free to consider
the Alleged Trade Secrets and the columns in any sequence or order you prefer. In any answer,
you must follow the instructions of law.

                                  ENFORCIBLE TRADE          IMPROPERLY            USED OR
                                      SECRET?                ACQUIRED?           DISCLOSED?
 ALLEGEDCLAIMED TRADE                 ________                ________            ________
 SECRET NO. 2
 ALLEGEDCLAIMED TRADE                  ________              ________             ________
 SECRET NO. 7
 ALLEGEDCLAIMED TRADE                  ________              ________             ________
 SECRET NO. 9
 ALLEGEDCLAIMED TRADE                  ________              ________             ________
 SECRET NO. 13
 ALLEGEDCLAIMED TRADE                  ________              ________             ________
 SECRET NO. 14
 ALLEGEDCLAIMED TRADE                  ________              ________             ________
 SECRET NO. 25
 ALLEGEDCLAIMED TRADE                  ________              ________             ________
 SECRET NO. 90
 ALLEGEDCLAIMED TRADE                  ________              ________             ________
 SECRET NO. 111

If you have answered “No” in at least one column for all eight AllegedClaimed Trade Secrets,
then skip ahead to Question No. 5 then you are done—go to the end of the form and sign and
date it. Otherwise, meaning you have answered “Yes” as to all three columns for at least one
AllegedClaimed Trade Secret, continue to the next three questions.

                           Former SVF 1, 5 – [Proposed] SVF 2, 7

Separately as to each AllegedClaimed Trade Secret, state whether or not Waymo has proven
that [Uber/Ottomotto] improperly acquired the Claimed Trade Secret in question.
the following parts of its claim for misappropriation against [the relevant defendant]. Answer
“Yes” or “No.” To sustain such a claim as to any Alleged Trade Secret, you must find Waymo
has proven all of the elements in the three columns below, meaning “Yes” in all three columns.
If you answer “No” as to the any column, then you need not consider and need not answer as to
the other columns for that particular Alleged Trade Secret, although you may do so if you wish.
You are free to consider the Alleged Trade Secrets and the columns in any sequence or order you
prefer. In any answer, you must follow the instructions of law.



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                                    ENFORCIBLE         IMPROPERLY ACQUIRED?         USED OR
                                   TRADE SECRET?                                   DISCLOSED?
 ALLEGEDCLAIMED TRADE                ________                 ________              ________
 SECRET NO. 2
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 7
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 9
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 13
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 14
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 25
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 90
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 111

If you have answered “No” in at least one column for all eight Alleged Trade Secrets, then skip
ahead to Question No. 5. Otherwise, meaning you have answered “Yes” as to all three columns
for at least one Alleged Trade Secret, cContinue to the next question.


                           Former SVF 1, 5 – [Proposed] SVF 3, 8

Separately as to each AllegedClaimed Trade Secret, state whether or not Waymo has proven
that [Uber/Ottomotto] used or disclosed the Claimed Trade Secret in question.
the following parts of its claim for misappropriation against [the relevant defendant]. Answer
“Yes” or “No.” To sustain such a claim as to any Alleged Trade Secret, you must find Waymo
has proven all of the elements in the three columns below, meaning “Yes” in bothall three
columns. If you answer “No” as to the any column, then you need not consider and need not
answer as to the other columns for that particular Alleged Trade Secret, although you may do so
if you wish. You are free to consider the Alleged Trade Secrets and the columns in any sequence
or order you prefer. In any answer, you must follow the instructions of law.

                                    ENFORCIBLE         IMPROPERLY ACQUIRED?         USED OR
                                   TRADE SECRET?                                   DISCLOSED?
 ALLEGEDCLAIMED TRADE                ________                 ________              ________
 SECRET NO. 2
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 7
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 9
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 13
 ALLEGEDCLAIMED TRADE                 ________                ________              ________
 SECRET NO. 14




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 ALLEGEDCLAIMED TRADE                 ________                 ________              ________
 SECRET NO. 25
 ALLEGEDCLAIMED TRADE                 ________                 ________              ________
 SECRET NO. 90
 ALLEGEDCLAIMED TRADE                 ________                 ________              ________
 SECRET NO. 111


If you have answered “No” in at least one column for all eight AllegedClaimed Trade Secrets,
then skip ahead to Question No. 57. Otherwise, meaning you have answered “Yes” as to all
three columns for at least one AllegedClaimed Trade Secret, continue to the next three questions.


                           Former SVF 2, 6 – [Proposed] SVF 4, 9

Only with respect to any AllegedClaimed Trade Secret for which you answered “Yes” in all
three columns in the previous question, state whether or not Waymo has proven that
Uber[/Ottomotto] was unjustly enriched and that such use or disclosure was a substantial factor
in bringing about such unjust enrichment. If you answer “Yes,” then further state the dollar
amount by which Waymo has proven that Uber[/Ottomotto] was unjustly enriched (or, if such
amount is not calculable, then enter “Zero” in the dollar amount column). If you answer “No,”
then leave the dollar amount column blank:

                                          UNJUST ENRICHMENT/               DOLLAR AMOUNT
                                          SUBSTANTIAL FACTOR?
 ALLEGEDCLAIMED TRADE SECRET
 NO. 2
 ALLEGEDCLAIMED TRADE SECRET
 NO. 7
 ALLEGEDCLAIMED TRADE SECRET
 NO. 9
 ALLEGEDCLAIMED TRADE SECRET
 NO. 13
 ALLEGEDCLAIMED TRADE SECRET
 NO. 14
 ALLEGEDCLAIMED TRADE SECRET
 NO. 25
 ALLEGEDCLAIMED TRADE SECRET
 NO. 90
 ALLEGEDCLAIMED TRADE SECRET
 NO. 111



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Remember, as I said in the jury instructions, if you answer “Yes” and “Zero” as to any Alleged
Trade Secret, we may have supplemental proceedings as to that Alleged Trade Secret with
respect to an alternative form of award.




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